UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------- X   Index No. 22-cv-6284
DAMEKA DOWDY, JEFFREY HUNTER, SEAN                                          :
MILAN, JOEL PURSER, SANDRA CASTRO, CECELIA                                  :
ROJAS, KEVON CHISHOLM, RICHARD ORTEGA,                                      :
MARISOL CONCEPCION, ROBERT TABON,                                           :
RASHEEN ODOM, CARMELITA GORDON-                                             :   CLASS ACTION
FLEETWOOD, and RAYMOND PACHECO,                                             :   COMPLAINT
                                                                            :
On behalf of themselves and all others similarly situated,                  :
                                                                            :
                                             Plaintiffs,                    :
                  -against-                                                 :   JURY TRIAL DEMANDED
                                                                            :
THE CITY OF NEW YORK, NEW YORK CITY                                         :
DEPARTMENT OF SANITATION,                                                   :
                                                                            :
                                             Defendants.                    :
                                                                            :
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                                               INTRODUCTION

          Plaintiffs Dameka Dowdy, Jeffrey Hunter, Sean Milan, Joel Purser, Sandra Castro,

 Cecelia Rojas, Kevon Chisholm, Richard Ortega, Marisol Concepcion, Robert Tabon, Rasheen

 Odom, Carmelita Gordon-Fleetwood, and Raymond Pacheco, on behalf of themselves and all

 others similarly situated, by their attorneys, Seelig Law Offices, LLC, and Moser Law Firm,

 P.C., bring this action against the City of New York (“City”) and the New York City Department

 of Sanitation (“DSNY”), alleging as follows:

                                          NATURE OF THE CASE

          1.       Plaintiffs, Sanitation Enforcement Agents, allege that Defendant City of New

 York discriminates and compensates them less than Sanitation Workers for substantially equal

 work in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, as amended

 (“Title VII”), the New York State Human Rights Law (“NYSHRL”), the New York City Human




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Rights Law (“NYCHRL”), the Equal Pay Act of 1963, the New York State Equal Pay Law

(“NYSEPL”), and other laws. Plaintiff seeks prospective injunctive relief to remedy ongoing

violations of federal and state law, compensatory damages, punitive damages, liquidated

damages, front pay, back pay, interest, and an award of attorney’s fees.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the federal claims pursuant to 28 U.S.C. §§ 1331,

and 1343. This action is authorized and instituted, pursuant to 42 U.S.C. § 2000e-5(f).

       3.      Pursuant to 28 U.S.C. § 1367(a), supplemental jurisdiction exists over the related

state claims because they arise from the same nucleus of operative facts giving rise to this

dispute.

       4.      Venue is appropriate in this District under 28 U.S.C. § 1391 because a substantial

portion of the events giving rise to the claims occurred in New York County.

       5.      This Court has personal jurisdiction over Defendants because Defendants’

location is found within this District.

                                             PARTIES

                                             Plaintiffs

       6.      Plaintiffs Dameka Dowdy, Jeffrey Hunter, Sean Milan, Joel Purser, Sandra

Castro, Cecelia Rojas, Kevon Chisholm, Richard Ortega, Marisol Concepcion, Robert Tabon,

Rasheen Odom, Carmelita Gordon-Fleetwood, and Raymond Pacheco are or were Sanitation

Enforcement Agents (“SEAs”) or Associate Sanitation Enforcement Agents (“ASEAs”)

employed by the New York City Department of Sanitation (“DSNY”) and the City of New York.

       7.      Plaintiffs are qualified for the full duties of their positions and able to perform the

full range of duties, or were during the time period of their employment.




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       8.     Plaintiffs qualify as an “employee” under the relevant statutes, including Title VII

of the Civil Rights Act, the Human Rights Laws, and the Equal Pay Act and Law.

       9.     Dameka Dowdy is a Black female, and is an ASEA I with a rate of pay of

approximately $43,000 after 15 years with DSNY.

       10.    Jeffrey Hunter is a Native American male, and is an ASEA II with a rate of pay of

approximately $49,163 after 33 years of service with DSNY.

       11.    Sean Milan is a Black male, and is an ASEA I with a rate of pay of approximately

$47,441 after 14 years with DSNY.

       12.    Joel Purser is a Black male, and is an ASEA I with a rate of pay of approximately

$43,290 after 30 years with DSNY.

       13.    Sandra Castro is a Black female, and is an SEA with a rate of pay of

approximately $46,805 after 18 years with DSNY.

       14.    Cecelia Rojas is a Black female, and is an ASEA I with a rate of pay of

approximately $49,545 after 33 years with DSNY.

       15.    Kevon Chisholm is a Black female, and is an SEA with a rate of pay of

approximately $46,805 after 15 years with DSNY.

       16.    Richard Ortega is a Hispanic male, and is an ASEA II with a rate of pay of

approximately $49,122 after 29 years with DSNY.

       17.    Marisol Concepcion is a Hispanic female, and is an ASEA I with a rate of pay of

approximately $43,249 after 14 years with DSNY.

       18.    Robert Tabon is a Black male, and is an ASEA I with a rate of pay of

approximately $43,407 after 36 years with DSNY.

       19.    Rasheen Odom is a Black male, and is an ASEA I with a rate of pay of




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approximately $43,249 after 18 years with DSNY.

       20.     Carmelita Gordon-Fleetwood is a Black female, and is an ASEA I with a rate of

pay of approximately $43,000 after 15 years with DSNY.

       21.     Raymond Pacheco is a Hispanic male, and is an ASEA II with a rate of pay of

approximately $49,122 after 12 years with DSNY.

                                            Defendants

       22.     At all relevant times, Defendant City of New York is a municipal corporation

duly organized and existing pursuant to and by virtue of the laws of the State of New York, with

mayoral agencies and/or departments, including Defendant New York City Department of

Sanitation (“DSNY”).

       23.     Plaintiffs are or were employed by DSNY, which has its headquarters at 125

Worth Street, New York, New York, 10007, County of New York.

       24.     Defendants qualify as an “employer” under the relevant statutes, including Title

VII of the Civil Rights Act, the Human Rights Laws, and the Equal Pay Act and Law.

                            ADMINISTRATIVE REQUIREMENTS

       25.     On February 4, 2021, Plaintiffs’ thirteen (13) charges of discrimination were

received by the United States Equal Employment Opportunity Commission (“EEOC”), sent

together by U.S.P.S. Priority Mail Express overnight with tracking.

       26.     Between April 29, 2022 and May 3, 2022, all thirteen (13) of Plaintiffs’ Right to

Sue Letters were received by counsel via email. See Exhibit A for Right to Sue Letters..

       27.     This action has been brought within ninety (90) days of receipt of the notice of

suit rights. All conditions precedent to the institution of this lawsuit have been met.

       28.     Unlike Title VII, claims brought under the Equal Pay acts or Human Rights laws




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do not require the filing of administrative complaints or exhaustion of remedies.

                                          STATEMENT OF FACTS

         29.      The New York City Department of Sanitation employs Sanitation Enforcement

Agents, under the civil service titles of Sanitation Enforcement Agent (“SEA”) and Associate

Sanitation Enforcement Agent (“ASEA”) (collectively “Enforcement Agents”).

         30.      The job duties of SEAs and ASEAs include, but are not limited to, issuing

criminal summonses and Environmental Control Board (ECB) summonses.

         31.      In addition, they issue parking summonses.

         32.      Their job duties also include investigating complaints, enforcing regulations,

testifying in court, and effecting arrests.

         33.      Enforcement Agents have investigated illegal dumping.

         34.      Enforcement Agents have conducted vehicle stops.

         35.      In addition to Enforcement Agents, the DSNY employs Sanitation Workers.

         36.      DSNY has designated certain Sanitation Workers as “Sanitation Police.”1

         37.      Sanitation Police enforce the same laws as Enforcement Agents.

         38.      Sanitation Police and Enforcement Agents both issue summonses, investigate

complaints, testify in court, effect arrests, and enforce regulations.

         39.      Enforcement Agents have trained the Sanitation Police.

         40.      Enforcement Agents perform work requiring equal skill, effort, and responsibility

under similar working conditions as Sanitation Police.

         41.      Enforcement Agents have the same responsibilities and carry out the same job

functions as the Sanitation Police.


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 In this Complaint, the term “Sanitation Police” or “Sanitation Police Officers” refers to the employees in the civil
service titles of Sanitation Worker and Sanitation Supervisor working out of title as police.


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       42.     While Enforcement Agents are overwhelmingly minorities, the pool of Sanitation

Workers that are used to form the Sanitation Police are, upon information and belief,

predominately white and male.

       43.     Upon information and belief, percentage wise, there are more than twice as many

black Enforcement Agents as black Sanitation Police.

       44.     Upon information and belief, percentage wise, there are more than twice as many

the female Enforcement Agents as female Sanitation Police.

       45.     As to compensation, Sanitation Police are paid a higher wage than Enforcement

Agents, along with better benefits such as longevity pay, unlimited sick leave, three-quarters of

pay accident disability retirement, and 20 or 22 year service retirement.

       46.     Sanitation Police receive $77,318 after 5.5 years of service.

       47.     In contrast, many Enforcement Agents are receiving less than $45,000 after 15 or

30 years of service.

       48.     In addition, there are numerous other contractual benefits that Sanitation Police

receive that Enforcement Agents do not receive, including, but not limited to, assignment

differential, double time for Sundays and/or holidays, higher welfare and annuity fund benefits, a

higher uniform allowance, and other benefits in their contracts.

       49.     Further, compensation discrepancies will follow the Enforcement Agents into

their retirement as their pensions will be significantly lower due to their lower Final Average

Salary upon which their pensions are calculated.

       50.     DSNY does not appoint Enforcement Agents to the Sanitation Police and

disqualifies Enforcement Agents for the “Sanitation Police” position.

       51.     The DSNY only permits Sanitation Workers to become Sanitation Police.




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          52.   DSNY requires that any Enforcement Agent who wishes to become a Sanitation

Police Officer must take the civil service examination and meet the physical requirements of a

Sanitation Worker. The physical requirements of a Sanitation Worker have nothing to do with

police or enforcement duties.

          53.   In order to qualify for the position of Sanitation Police Officer, DSNY requires

that an Enforcement Agent become a Sanitation Worker. The qualifications of a Sanitation

Worker include, among other things, the ability to lift and carry bags and cans up to 100 or 150

pounds dozens of times per hour, walking, climbing, pulling, and driving, including having and

maintaining a CDL.

          54.   Having and maintaining a CDL is not necessary to perform Sanitation Police

duties.

          55.   Lifting and carrying bags and cans up to 150 pounds several times per hour has

nothing to do with Sanitation Police duties.

          56.   There is no civil service examination to become a Sanitation Police Officer.

          57.   DSNY’s actions, including requiring that an individual become a Sanitation

Worker before being eligible to become a member of the Sanitation Police, act as an artificial

barrier to entry, and otherwise discriminate against minorities and females and, are violative of

Title IV of the Civil Rights Act, the Equal Pay Act of 1963, the New York State Equal Pay Law,

the New York State Human Rights Law, and the New York City Human Rights Law.

          58.   The wage and benefit disparity between Enforcement Agents and Sanitation

Police has a disparate impact on minorities and females.

                                CLASS ACTION ALLEGATIONS

          59.   Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.




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       60.     Plaintiffs bring all causes of action pursuant to Rule 23 of the Federal Rules of

Civil Procedure, on their own behalf and as representatives of a class consisting of all past,

present, and future female and minority Enforcement Agents. Plaintiff reserves the right to

amend or refine the definition of the Class based on discovery or legal developments.

       61.     Plaintiffs and the Class bring this action for equitable relief and damages pursuant

to Federal Rule of Civil Procedure 23.

       62.     Plaintiffs are members of the class they seek to represent.

       63.     The members of the Class identified herein are so numerous that joinder of all

members is impracticable. The Class consists of dozens of female and minority Enforcement

Agents in addition to many that have left employment. As a result, joinder of all Class members

in a single action is impracticable.

       64.     There are questions of law and fact common to the members of the Class,

including but not limited to: (1) whether Defendants are liable to Plaintiffs and Class Members

for damages arising out of sex and race discrimination; whether Defendants are liable to

Plaintiffs and Class Members for damages arising out of equal pay laws; whether Defendants had

a policy or practice to cause these violations, or a failure to implement a policy and procedure to

prevent these violations; and whether equitable, compensatory, and punitive damages for the

Class are warranted.

       65.     These and other questions of law and/or fact are common to each and every Class

Member and predominate over any questions affecting only an individual Class Member.

       66.     Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action.

       67.     Plaintiffs will fairly and adequately represent and protect the interest of the Class.




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Plaintiff has retained counsel competent and experienced in complex class actions, employment

discrimination litigation, and the intersection thereof.

       68.     Accordingly, the interests of the Class will be adequately protected and advanced.

In addition, there is no conflict of interest between the representatives of the proposed Class and

members of the Class.

       69.     Maintenance of this action as a class action is a fair and efficient method for

adjudication of this controversy. It would be impracticable and undesirable for each member of

the Class who has suffered harm to bring a separate action. In addition, the maintenance of

separate actions would place a substantial and unnecessary burden on the courts and could result

in inconsistent adjudications, while a single class action can determine, with judicial economy,

the rights of all class members.

       70.     Notice can be provided to the Class Members, who are all current or former City

employees, through the same or similar methods or techniques that the City uses to contact its

current and former employees.

       71.     Certification of the Class is appropriate pursuant to Fed. R. Civ. P. 23(a) and

23(b)(3) because the questions of law and fact common to members of the Class predominate

over any questions affecting only individual members. This class action is superior to other

available remedies for the fair and efficient adjudication of this controversy.

                                   FIRST CLAIM FOR RELIEF
                                      (Equal Pay Act of 1963)

       72.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       73.     Defendants discriminated against Plaintiffs on account of sex in violation of the

Equal Pay Act, 29 U.S.C. § 201, et seq.



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       74.     Defendants’ policies and procedures had and continue to have a discriminatory

impact on female employees.

       75.     This system has an adverse impact on female employees and is not, and cannot

be, justified by business necessity. Even if such system could be justified by business necessity,

less discriminatory alternatives exist and would equally serve any alleged necessity.

                                SECOND CLAIM FOR RELIEF
                                (New York State Equal Pay Law)

       76.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       77.     Defendants discriminated against Plaintiffs on account of sex in violation of New

York Labor Law § 194.

       78.     Defendants’ policies and procedures had and continue to have a discriminatory

impact on female employees.

       79.     This system has an adverse impact on female employees and is not, and cannot

be, justified by business necessity. Even if such system could be justified by business necessity,

less discriminatory alternatives exist and would equally serve any alleged necessity.

                               THIRD CLAIM FOR RELIEF
                     (Race Discrimination – Title VII – Disparate Impact)

       80.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       81.     Defendants engaged in an unlawful employment practice by discriminating

against Plaintiffs, because of race and/or color and/or national origin, with respect to the terms,

conditions and/or privileges of employment, failed to treat Plaintiffs as other similarly-situated

employees, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.




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       82.     Defendants have maintained a system and/or policies that are discriminatory with

respect to the assignment of employees to employment positions, promotions, compensation, and

other terms and conditions of employment.

       83.     By its conduct as set forth herein above, Defendants, through supervisory

employees, discriminated against Plaintiffs in the terms, conditions, and privileges of their

employment because of their race in violation of Title VII.

       84.     As a direct result of the above-complained violative conduct by Defendants and

their employees, Plaintiffs were deprived of equal employment opportunities, sustained

emotional and psychological distress, and was caused to incur pecuniary and non-pecuniary

losses, lost wages, past and future, attorney’s fees, and costs.

                               FOURTH CLAIM FOR RELIEF
                      (Sex Discrimination – Title VII – Disparate Impact)

       85.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       86.     Defendants have maintained a system and/or policies that are discriminatory with

respect to the assignment of employees to employment positions, promotions, compensation, and

other terms and conditions of employment.

       87.     Defendants’ policies and procedures had and continue to have a discriminatory

impact on female employees.

       88.     This system has an adverse impact on female employees and is not, and cannot

be, justified by business necessity. Even if such system could be justified by business necessity,

less discriminatory alternatives exist and would equally serve any alleged necessity.

       89.     The foregoing conduct constitutes illegal discrimination prohibited by 42 U.S.C.

§§ 2000e et seq.



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                              FIFTH CLAIM FOR RELIEF
      (Race Discrimination – New York State Human Rights Law – Disparate Impact)

       90.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       91.     Defendants engaged in an unlawful employment practice by discriminating

against Plaintiffs, because of race and/or color and/or national origin, with respect to the terms,

conditions and/or privileges of employment, failed to treat Plaintiffs as other similarly-situated

employees, in violation of human rights laws.

       92.     Defendants have maintained a system and/or policies that are discriminatory with

respect to the assignment of employees to employment positions, promotions, compensation, and

other terms and conditions of employment.

       93.     By its conduct as set forth herein above, Defendants, through supervisory

employees, discriminated against Plaintiffs in the terms, conditions, and privileges of their

employment because of their race in violation of human rights laws.

       94.     As a direct result of the above-complained violative conduct by Defendants and

their employees, Plaintiffs were deprived of equal employment opportunities, sustained

emotional and psychological distress, and was caused to incur pecuniary and non-pecuniary

losses, lost wages, past and future, attorney’s fees, and costs.

       95.     The foregoing conduct constitutes illegal discrimination prohibited by New York

Executive Law § 296 et seq.

                             SIXTH CLAIM FOR RELIEF
      (Sex Discrimination – New York State Human Rights Law – Disparate Impact)

       96.     Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.




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       97.     Defendants have further cemented disparity between men and women which

includes disparity in employment positions, promotions, compensation, and other terms and

conditions of employment.

       98.     This system has an adverse impact on female employees and is not, and cannot

be, justified by business necessity. Even if such system could be justified by business necessity,

less discriminatory alternatives exist and would equally serve any alleged necessity.

       99.     The foregoing conduct constitutes illegal discrimination prohibited by the New

York State Human Rights Law.

       100.    The foregoing conduct constitutes illegal discrimination prohibited by New York

Executive Law § 296 et seq.

                            SEVENTH CLAIM FOR RELIEF
      (Race Discrimination – New York City Human Rights Law – Disparate Impact)

       101.    Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       102.    Defendants engaged in an unlawful employment practice by discriminating

against Plaintiffs, because of race and/or color and/or national origin, with respect to the terms,

conditions and/or privileges of employment, failed to treat Plaintiffs as other similarly-situated

employees, in violation of human rights laws.

       103.    Defendants have maintained a system and/or policies that are discriminatory with

respect to the assignment of employees to employment positions, promotions, compensation, and

other terms and conditions of employment.

       104.    By its conduct as set forth herein above, Defendants, through supervisory

employees, discriminated against Plaintiffs in the terms, conditions, and privileges of their

employment because of their race in violation of human rights laws.



                                                   13
       105.    As a direct result of the above-complained violative conduct by Defendants and

their employees, Plaintiffs were deprived of equal employment opportunities, sustained

emotional and psychological distress, and was caused to incur pecuniary and non-pecuniary

losses, lost wages, past and future, attorney’s fees, and costs.

       106.    The foregoing conduct constitutes illegal discrimination prohibited by the

Administrative Code of the City of New York (“NYCAC”) § 8-107.

                             EIGHTH CLAIM FOR RELIEF
       (Sex Discrimination – New York City Human Rights Law – Disparate Impact)

       107.    Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       108.    Defendants have further cemented disparity between men and women which

includes disparity in employment positions, promotions, compensation, and other terms and

conditions of employment.

       109.    This system has an adverse impact on female employees and is not, and cannot

be, justified by business necessity. Even if such system could be justified by business necessity,

less discriminatory alternatives exist and would equally serve any alleged necessity.

       110.    The foregoing conduct constitutes illegal discrimination prohibited by the

Administrative Code of the City of New York (“NYCAC”) § 8-107.

                                 NINTH CLAIM FOR RELIEF
                                   (42 U.S.C. § 1983 Claim)

       111.    Plaintiffs repeat and reallege each allegation contained in all other paragraphs of

this Complaint as though fully set forth herein.

       112.    Defendants at all times relevant to this action were acting under color of state law.

       113.    Plaintiffs’ civil and constitutional rights were violated as alleged herein.




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       114.    The violation of Plaintiffs’ rights resulted from a municipal policy or custom,

namely, but not limited to, the requirement that Sanitation Police Officers can only come from

the pool of active Sanitation Workers or Sanitation Supervisors.

                                    RELIEF REQUESTED

       WHEREFORE, Plaintiffs requests that this Court:

       A.      Grant a permanent injunction enjoining Defendants from engaging in the ongoing

employment practices violating federal law by discriminating against Plaintiff;

       B.      Order Defendants to institute and carry out policies, programs and practices which

provide equal employment opportunities for all employees of Defendant to eradicate the effects

of the ongoing violations of federal law;

       C.      An award of compensatory damages, including lost back pay and benefits with

prejudgment interest (retroactive payments, retroactive pension contributions, and return to top

of pay scale), past and future lost wages and benefits, past and future pecuniary losses and

compensatory damages, and for attorney’s fees, and costs; and

       D.      Such other and further relief as the Court deems just and proper.

                                            JURY TRIAL

       Plaintiff demands a trial by jury on all issues properly before this Court and all questions

of fact raised by this Complaint.




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Dated: New York, New York
       July 25, 2022
                                 Respectfully,

                                 Seelig Law Offices, LLC
                                 By:

                                         /s/ Philip H. Seelig
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